Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 1 of 9 PagelD #: 9257

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

THE RESEARCH FOUNDATION OF
STATE UNIVERSITY OF NEW YORK;
NEW YORK UNIVERSITY; GALDERMA
LABORATORIES INC.; AND GALDERMA
LABORATORIES, L.P., C.A. No. 09-184 (LPS)

Plaintiffs,
V.

MYLAN PHARMACEUTICALS INC.

Defendant.

MYLAN PHARMACEUTICALS INC.,

Plaintiff,

y C.A. No. 10-892 (LPS)

GALDERMA LABORATORIES INC.,
GALDERMA LABORATORIES, L.P., and
SUPERNUS PHARMACEUTICALS, INC.,

New Nowe” eee Nene Sener Nene Same” Nee nee” eee” Nee” Nee”

Defendants.

JOINT ERRATA FOR TRIAL TRANSCRIPTS

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State University of New York, New York
University, Galderma Laboratories Inc.,
Galderma Laboratories, L.P., Galderma
Laboratories Inc., Galderma Laboratories,
L.P. and Supernus Pharmaceuticals, Inc.
Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 2 of 9 PagelD #: 9258

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July 20, 2011

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Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 3 of 9 PagelD #: 9259

Research Foundation of State University of New York, et al. v. Mylan
Pharmaceuticals, Inc.
Case No. 09-184-LPS

Mylan Pharmaceuticals, Inc. v. Galderma Labs., et al.

Case No. 10-892-LPS

Parties' Joint Errata for Trial Transcripts dated 7/5/2011 to 7/8/2011

Tuesday

Monday
6:14 Dr. Redding's Dr. Rudnic's
6:15 Dr. Reddy's Dr. Rudnic's
10:12 between behind
11:8 treated created
13:23 supposed supposedly
14:1 CollaGenex's CollaGenex
18:13 use used
19:9 Toltan Talton
21:12 themes these
23:2 take teach
24:8 But But the
25:1 interrogatory interrogatories
25:7 much of of
26:25 never a never
29:20 wouldn't won't
30:1 that in that are in
31:11 Maybe Much less
31:12 formulations portions
34:11 doesn't don't
34:19 in amounts in claimed amounts
34:23 nitro oxide or inducible nitro nitric oxide or inducible nitric
35:19 nitro nitric
35:25 dropped it dropped its
36:1 obviousness obviousness defense
36:11 ind in
36:25 problem public
37:14 crying clear
37:21 rosacea Oracea
71:22 immune system innate immune system
71:25 native innate
72:3 Galderma Gallo
72:20 rosacea Oracea
73:14 wide white
75:15 diary diarrhea
76:17 suspect the same
77:12 augur agar
77:20 MC MIC
83:1 drug row
85:19 an and
86:20 condition section

equities

Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 4 of 9 PagelD #: 9260

date data
PTX-314 PTX-413
in vivo to in vivo in vitro to in vivo
prosecution percent
it that
phases states
to do
duration calculation
in and
30 40
10 40
sub-bacterial sub-antibacterial
early little
Oracea references
not nothing
rosacea Oracea
PTX-2322 DTX 2322
disclosure exposure
sample sampled
statistical statistically
flabella glabella
flabella glabella
much of
flabella glabella
stand stands
Helibactora Helicobacter
non-bacterial static non-bacteriostatic
concentration concentrations
171:21 What When
172:15 Monopharmaceutics Modern Pharmaceutics
177:11 product products
181:20 Covans (phonetic) Covance
186:10 or of
192:9 Do you Q. Do you
193:8 patents patent
193:18 relation system
196:8 '829 7819
201:10 each teach
204:9 peritonitis periodontitis
207:25 Lens of a lens of the
216:5 PTX-50 PTX-530
216:8 PTX-50 PTX-530
224:11 Carbitol Carbatrol
226:22 them that
228:1 that you tell that tell you
229:10 SythesPharma Scintipharma
231:5 doxycycline two to doxycycline in two to
231:17 secreted excreted
231:19 secretion excretion
234:11 Oracea ratio

Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 5 of 9 PagelD #: 9261

: Carbitol Carbatrol
246:13 Carbitol Carbatrol
262:3 of for
262:3 in and
267:15 WOOD REED
268:3 affects effects
268:23 Bruch Gerhars Bruch-Gerharz
269:12 WooD REED
269:22 pathogenetic (occurs twice) pathogenic
270:2 leucocyte leukocyte
270:13 leucocytes leukocytes
270:19 Shulman Schéllmann
270:23 Yamazaki Yamasaki
270:24 Gallow Gallo
270:24 Molecular Car Pathology Molecular Pathology
271:8 disregulated dysregulated
272:6 Rosacea, Rosacea:
272:14 WOOD REED
273:2 develop development
274:9 WOOD REED
274:23 extravagation extravasation
275:7 disregulated dysregulated
275:8 ions iNOS
276:7 up regulation upregulation
276:16 ion iNOS
277:6 iso-enzyme enzyme
278:9 ions iNOS
279:23 3.2 322
280:24 up regulation upregulation
281:18 macrophage macrophages
282:7 in and
287:21 Oracea rosacea
288:10 Oracea rosacea
288:15 product in product, in
288:16 Oracea rosacea
297:10 pathogenetic pathogenic
301:14 WoOoD REED
301:18 WOOD REED
301:24 WOOD REED
304:22 WwooD REED
305:2 WOOD REED
305:3 WOOD REED
318:3 up-regulatable upregulated
318:7 up-regulatable upregulated
321:2 in end and in
329:12 WOOD REED
329:15 WooD REED
331:9 WOOD REED
331:13 WOOD REED
331:23 WOOD REED

Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 6 of 9 PagelD #: 9262

she h

now not
374:16 Tuesday Wednesday
376:24 WOOD REED
377:8 WOOD REED
384:6 Wood Reed
384:11 WOOD REED
384:24 Walters-Kluwer Wolters Kluwer
385:16 WOOD REED
386:3 WOOD REED
386:10 WOOD REED
386:23 WOOD REED
388:18 WOOD REED
388:24 WOOD REED
389:7 WOOD REED
390:1 WOOD REED
390:9 WOOD REED
390:12 WOOD REED
390:15 WOOD REED
390:16 briefs pages
390:24 WOOD REED
400:16 ever ever call up
404:9 eight ate
412:15 prepared this slide prepared slides
413:9 of for
413:16 did do
413:25 hold have
414:2 author authored
414:23 focussed focused
418:6 Carrie Karrie
419:21 of [remove "of"]
425:10 indigent integer
428:15 dermatalgic dermatologic
433:12 showings shows
440:6 prescription March prescription in March
449:15 name [remove "name"]
453:18 independent dependent
453:20 specifically specific
455:6 decade decades
455:8 does doses
459:3 infringes is infringes if
464:12 hydrate hyclate
464:20 tat that
464:23 dermatalgic dermatologic
464:25 of or
465:6 conferred converted
466:11 as well the as well as the
474:23 possessing possess
478:21 pilus pilo
479:15 we treated retrieved
479:15 pilus pilo

Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 7 of 9 PagelD #: 9263

483:1 pilus pilo

490:24 other another
492:11 dermatalgic dermatologic
492:15 opthalmalgic ophthalmologic
492:15 occular ocular

494:8 objection see Oxy

494:8 thugs thus

495:21 the that the claims that
496:9 at of

498:6 Oracea rosacea

503:7 Corre3vct Correct
503:17 HIPPA HIPAA

503:20 HIPPA HIPAA

518:14 not now

522:23 didn't did

527:12 h pylori H. pylori
529:18 does dose

539:18 730 732

548:9 Harry Henry

561:7 studied funded
572:14 in case indicate
575:15 Walker study Walker 2000 study
611:9 hours, it's hours. It's
611:10 per mil. For the per mil for the
628:19 1524 154

630:10 cites sites

640:17 and at

640:18 administration at administration and
648:23 cites sites

656:13 no9t not

663:18 millimeter milliliter
680:1 etched evidence
681:20 millimeter milliliter
682:11 millimeter milliliter
683:6 millimeter milliliter
685:2 millimeter milliliter
685:7 millimeter milliliter
685:23 millimeter milliliter
687:1 millimeter milliliter
687:11 millimeter milliliter
687:19 millimeter milliliter
689:18 millimeter milliliter
695:5 Bruch-Gerhars Bruch-Gerharz
698:20 Shulman Schéllmann
699:12 Bruch Gerhars Bruch-Gerharz
699:14 Bruch Gerhars Bruch-Gerharz
715:22 Chang patent Amin patents
720:19 millimeter milliliter
720:21 millimeter milliliter

Case 1:09-cv-00184-LPS Document 263

Filed 07/20/11 Page 8 of 9 PagelD #: 9264

millimeter milliliter
access x axis
not in
coating coding
leucocyte leukocyte
Thelma Bouwsma
starting start up
Spark SPARK
The purpose of the Spark The purpose of the SPARK
program is to lead as program is to link up
752:2 appear a peer
752:5 appearing peer reviewing
752:15 KK2 Caco-2
756:9 Partitioner A practitioner
760:14 be valid invalid
761:23 Mohlberg Malmborg
765:4 simulistic plot semilog plot
766:13 primer parameters
766:19 credit size criticize
776:7 millimeter milliliter
776:21 millimeter milliliter
776:22 millimeter milliliter
780:14 Mylan Elan
781:14 microcytes. microbicides.
782:9 witness binder thee at witness binder at
782:22 expert in the designing expert in the field of designing
785:4 claimed of 0.1 claimed of 0.3
786:3 below low a below a
786:13 SODIS and IPDOS. SODAS and IPDAS.
796:4 ratio of ranges range of ratios
800:17 a dependent an independent
800:22 times of acne. forms of acne.
806:21 do is it does it
813:24 millimeter milliliter
814:17 millimeter milliliter
814:24 millimeter milliliter
834:3 millimeter milliliter
834:4 millimeter milliliter
858:25 millimeter milliliter
860:1 millimeter milliliter
864:17 WESTIN GILL
864:17 Karen Kirin
865:9 under understand
868:1 session says
868:9 companions compositions
869:10 inconveniencing invention
878:12 I was is
897:15 millimeter milliliter
897:16 millimeter milliliter
899:22 millimeter milliliter

Case 1:09-cv-00184-LPS Document 263 Filed 07/20/11 Page 9 of 9 PagelD #: 9265

: chose choose
915:15 millimeter milliliter
919:5 millimeter milliliter
919:8 mid release immediate-release
919:14 millimeter milliliter
928:8 millimeter milliliter
928:9 millimeter milliliter
945:14 millimeter milliliter
945:18 millimeter milliliter
953:5 millimeter milliliter
953:6 millimeter milliliter
976:12 were are
977:1 concentrations concentration
978:7 asserted contested
979:23 taught that both taught both
980:14 that have when they would have
981:18 Mylan Mylan's
981:19-20 __|limitation claim claim limitation
981:23 the reducing reducing the
982:12 doxycycline per day or doxycycline or
982:15 use an anti-infection use in an infection
983:22 He It
985:18 antibody tissue body tissues
987:10 are are the result of
989:19 above about
991:20 file pile
992:15 that doesn't doesn't
992:16 bacteria flora or bacteria flora [bacterial flora or bacterial flora
999:25 patents references
1000:25 tact tactic
1001:4 creditably credibly
1003:18 the idea an idea
1004:19 okay "okay"
1005:10 immediate-release, immediate-release and
1006:8 dose doses
1009:1 oxide in oxide synthase in
1010:7 His own Mylan’s own
1011:11 rosacea Oracea
1012:12 that particular that any particular

